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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                      Plaintiff,                               4:13MJ03098

       vs.
                                                                  ORDER
 CHARLES J. BAASCH,

                      Defendant.

 The court has been presented a Financial Affidavit (CJA Form 23) signed by the
 above-named defendant in support of a request for appointed counsel. After a
 review of the Financial Affidavit, I find that the above-named defendant is eligible
 for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
 §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

  IT IS ORDERED that Thomas R. Lamb is appointed as attorney of record for the
 above-named defendant in this matter and shall forthwith file an appearance in this
 matter.

  IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
 forthwith provide counsel with a draft appointment order (CJA Form 20) bearing
 the name and other identifying information of the CJA Panel attorney identified in
 accordance with the Criminal Justice Act Plan for this district.

  IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
 the Federal Public Defender for the District of Nebraska and Thomas R. Lamb.

        DATED this 18th day of September, 2013.

                                           BY THE COURT:

                                           s/ John M. Gerrard
                                           United States District Judge
